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                          IN THE UNITED STATES DISTRICT COURT


                                 FOR THE DISTRICT OF WYOMING


ZACHARY LEBO,

Plaintiff.
                                                  )
V.                                                )       Case No. 17-CV-154-NDF


NAVIENT SOLUTIONS,LLC,

Defendant.


                                 FIRST AMENDED COMPLAINT


         COMES NOW,Plaintiff, Zachary Lebo, by and through the undersigned counsel,

and brings his cause of action against Defendant, NAVIENT SOLUTIONS,LLC, and in

support thereof alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §

227 et seq.(TCPA)and the tort of Invasion of Privacy - Intrusion upon Seclusion.

                                           INTRODUCTION


         1.       The TCPA was enacted to prevent companies like NAVIENT

SOLUTIONS,LLC from invading American citizen's privacy and to prevent abusive,

intrusive and unwanted "robo-calls."


         2.      "Senator Hollings, the TCPA's sponsor, described these calls as The

scourge of modem civilization, they wake us up in the morning; they interrupt our dinner

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